                                                           Case 6:21-bk-02101-LVV                 Doc 242            Filed 04/18/22                  Page 1 of 12

                                                                                       Form 1
                                                                                                                                                                                                          Page: 1-1
                                                                   Individual Estate Property Record and Report
                                                                                    Asset Cases
Case No.:    6:21-bk-02101-LVV                                                                                                             Trustee Name:        (291030) Richard B. Webber II
Case Name:       AAA Real Estate Investment Services LLC                                                                                   Date Filed (f) or Converted (c): 07/21/2021 (c)
                                                                                                                                           § 341(a) Meeting Date:       09/02/2021
For Period Ending:     03/31/2022                                                                                                          Claims Bar Date: 09/30/2021

                                                    1                                              2                              3                            4                      5                          6

                                           Asset Description                                    Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                (Scheduled And Unscheduled (u) Property)                      Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                 Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                    and Other Costs)                                                             Remaining Assets

    1       Checking Account at Bank of America, xxxxxx8283                                                 100.00                              0.00                                              0.00                        FA

    2       Checking Account at Wells Fargo, xxxxxx8315                                                     992.08                              0.00                                              0.00                        FA

    3       A/R 90 days old or less. Face amount = $13150. Doubtful/Uncollectible accounts               9,400.00                               0.00                                              0.00                        FA
            = $3750.
    4       A/R 90 days old or less. Face amount = $1250. Doubtful/Uncollectible accounts =                   0.00                              0.00                                              0.00                        FA
            $1250.
    5       Desk, 3 chairs                                                                                  400.00                              0.00                                              0.00                        FA

    6       Printer                                                                                         100.00                              0.00                                              0.00                        FA

    7       See Schedule A/B Part 9, Question 55 Attachment, See Attached (Real                               0.00                              0.00                                              0.00                        FA
            Properties listed individually Asset #'s 9-21)
    8       DIP Bank Acct at Axos Bank (u)                                                              Unknown                            3,967.03                                         3,967.03                          FA

    9       920 Marquette Ct, Deltona, FL 32725                                                        148,177.00                         59,180.00                                               0.00               212,930.00

   10*      1842 W Cooper Dr, Deltona, FL 32725 (See Footnote)                                         216,000.00                               0.00                                              0.00                        FA

    11      1030 Alice Dr., Daytona Beach, FL 32117                                                    141,991.00                         28,402.00                                               0.00                        FA

    12      1167 Hampton Rd, Daytona Beach, FL 32114                                                    77,178.00                         15,520.00                                               0.00               186,930.00

    13      905 Longview Ave., Deland, FL 32720                                                        102,568.00                        194,349.00                                               0.00               399,790.00

   14*      774 W 9th St., Deltona, FL 32725 (See Footnote)                                            234,000.00                               0.00           OA                                 0.00                        FA

    15      1201 Oakhill St., Lakeland, FL 33815                                                        88,649.00                          3,720.00                                               0.00               155,720.00

    16      2450 New Jersey Rd, Lakeland, FL 33803                                                     228,772.00                         46,530.00                                       274,000.00                          FA

    17      3424 Royal Ct N, Lakeland, FL 33813                                                        171,166.00                         77,540.00                                       275,000.00                          FA

   18*      1160 Edgewood Dr E., Lakeland, FL 33803 (See Footnote)                                     108,013.00                         26,470.00            OA                                 0.00                        FA

    19      1336 N Marcy Dr, Longwood, FL 32750                                                        272,034.00                        104,280.00                                       360,000.00                          FA

    20      2612 Lafayette, Winter Park, FL 32789                                                      407,558.00                               0.00           OA                                 0.00                        FA

   21*      3978 Tangle Dr., Titusville, FL 32796 (See Footnote)                                       145,510.00                         39,627.65                                               0.00                39,627.65
                                                            Case 6:21-bk-02101-LVV              Doc 242          Filed 04/18/22                  Page 2 of 12

                                                                                       Form 1
                                                                                                                                                                                                      Page: 1-2
                                                                   Individual Estate Property Record and Report
                                                                                    Asset Cases
Case No.:    6:21-bk-02101-LVV                                                                                                         Trustee Name:        (291030) Richard B. Webber II
Case Name:      AAA Real Estate Investment Services LLC                                                                                Date Filed (f) or Converted (c): 07/21/2021 (c)
                                                                                                                                       § 341(a) Meeting Date:       09/02/2021
For Period Ending:      03/31/2022                                                                                                     Claims Bar Date: 09/30/2021

                                                     1                                           2                            3                            4                      5                          6

                                            Asset Description                                 Petition/               Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                   Unscheduled          (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                               Values               Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                and Other Costs)                                                             Remaining Assets

   22*      1019 Alice Dr, Daytona Beach, FL 32117 (u) (See Footnote)                                Unknown                                0.00           OA                                 0.00                        FA

    23      Rent for 1167 Hampton Road (u)                                                           Unknown                           1,500.00                                        3,000.00                           FA

    24      Rent for 3424 Royal Ct N (u)                                                             Unknown                           1,500.00                                        3,000.00                           FA

    25      Rent for 905 Longview Ave., Deland, FL 32720 (u)                                         Unknown                           1,200.00                                        1,200.00                           FA

   26*      1209 W 20th St, Sanford, FL 32771 transferred for no consideration (u) (See              Unknown                         159,000.00                                               0.00               159,000.00
            Footnote)
   27*      2715 Augustine Court, Deltona, FL 32738 transferred for no consideration (u)             Unknown                          12,000.00                                       15,000.00                           FA
            (See Footnote)
    28      Taxes and Assessments from sale of 1336 N Marcy (u)                                      Unknown                             465.27                                          465.27                           FA

    29      Rent for 1201 Oakhill Street / Melissa Chandler (u)                                      Unknown                           7,563.09                                        7,563.09                           FA

    30      Prorated Adj. for City/Town Taxes (u)                                                    Unknown                             293.68                                          293.68                           FA

    31      City/Town Taxes 2/23/22 to 9/30/22 (u)                                                   Unknown                              48.60                                           48.60                           FA

    32      County Taxes 2/23/22 to 12/31/22 (u)                                                     Unknown                             133.27                                          133.27                           FA

    33      Buyer's Premium on 2450 New Jersey Rd, Lakeland, FL 33803                                     0.00                         7,500.00                                        7,500.00                           FA

    34      Buyer's Premium (1030 Alice Drive)                                                       Unknown                           7,500.00                                               0.00                        FA

   34       Assets               Totals       (Excluding unknown values)                        $2,352,608.08                      $798,289.59                                     $951,170.94             $1,153,997.65


     RE PROP# 10           Debtor sold 5/21/21 for $216,000 - no proceeds - let go

     RE PROP# 14           Property still under construction. Liability to Estate.

     RE PROP# 18           Secured lender would not accept offer under $198,000 - roof has leak and house was trashed. Listing agent advised that price was unattainable.

     RE PROP# 21           Debtor sold home post-petition without court order, received and spent funds $39,627.65, without court approval. Final Judgment entered against Debtor and Guerra in 6:21-ap-118
                           doc #'s 55 & 56
     RE PROP# 22           Quit Claim Deed dated 6/24/2019 just recorded 8/25/2021 - not on petition
                           Abandon - property trashed by squatters doc # 212
     RE PROP# 26           Final Judgment obtained in 6:21-ap-118 on 11/2/21 doc # 57 against RSD Advisory LLC

     RE PROP# 27           Final Judgment obtained in 6:21-ap-118 on 11/2/21 doc # 54 against Iron Building Florida, LLC
                                                 Case 6:21-bk-02101-LVV    Doc 242   Filed 04/18/22    Page 3 of 12

                                                                             Form 1
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                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case No.:    6:21-bk-02101-LVV                                                                   Trustee Name:     (291030) Richard B. Webber II
Case Name:     AAA Real Estate Investment Services LLC                                           Date Filed (f) or Converted (c): 07/21/2021 (c)
                                                                                                 § 341(a) Meeting Date:   09/02/2021
For Period Ending:   03/31/2022                                                                  Claims Bar Date: 09/30/2021
                                                  Case 6:21-bk-02101-LVV                 Doc 242        Filed 04/18/22         Page 4 of 12

                                                                             Form 1
                                                                                                                                                                               Page: 1-4
                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case No.:    6:21-bk-02101-LVV                                                                                           Trustee Name:     (291030) Richard B. Webber II
Case Name:     AAA Real Estate Investment Services LLC                                                                   Date Filed (f) or Converted (c): 07/21/2021 (c)
                                                                                                                         § 341(a) Meeting Date:   09/02/2021
For Period Ending:   03/31/2022                                                                                          Claims Bar Date: 09/30/2021


      Major Activities Affecting Case Closing:
                                  Bank Accounts; Rents; Real Properties; Accounts Receivable
                                  7/30/21 - email to Axos Bank to close DIP acct(s) and turnover balances - rec'd 8/11/21
                                  7/30 - letters mailed to BOA & WF to close accts & turnover balances. WF resp acct was closed 7/7/21
                                  8/2 - app to employ ZKS NPT to 7/29/21 filed (DE 41) - granted 8/6/21 (DE 48)
                                  8/3 - AP complaint filed 6:21-ap-118 - summons served 8/5/21
                                  8/4 - app to employ accountant filed (DE 42) & granted (DE 43)
                                  8/5 - letters mailed to tenants
                                  8/6 - app to employ realtors filed (DE 45) & granted (DE 46)
                                  8/25 - app to employ BK Global filed (DE 67) - granted 8/27/21 (DE 69)
                                  9/7 - resp to MRS on 3424 Royal Ct N (DE 63) filed (DE 72) - hearing 10/26 @ 11:30am - granted 10/28 (DE 113) have 180 days to sell
                                  9/8 - NOA on 774 W 9th St filed (DE 73)
                                  9/8 - app to employ realtor for 1019 Alice Dr filed (DE 74) & granted (DE 76)
                                  9/8 - motion to reject tenant leases filed, obj date up 9/29 (DE 75) - granted 10/13 (DE 103)
                                  9/10 - resp to MRS on 1160 E Edgewood filed (DE 78) - hearing 10/26 @ 11:30am - granted (DE 110) - have 180 days to sell
                                  9/10 - resp to MRS on 1336 N Marcy Dr filed (DE 79) - hearing 10/26 @ 11:30 am
                                  9/13 - motion to reject contract & listing agreement for 920 Marquette filed, obj date up 10/7 (DE 82) - resp filed (DE97) hearing 10/26
                                  9/16 - motion for clerk's defaults filed in AP case (DE 30-32) - granted (DE 33, 35, 37)
                                  10/1 - motion for clerk's default filed in AP case against RSD (DE 42) - granted 10/5 (DE 45)
                                  10/1 - final judgments filed on Iron, AAA, & Guerra (DE 43 & 44) - granted 11/2 (DE 55 & 56)
                                  10/5 - MRS filed on 905 Longview Ave., Deland, FL 32720 (DE 98) - 10/25 resp filed (DE 107) - hearing 11/30 @ 11:30am granted 12/16 (DE 150)
                                  10/7 - final judgment filed on RSD (DE 46) - granted 11/2 (DE 57 & 59)
                                  10/29 - app to employ realtors to sell 920 Marquette filed (DE 114) & granted (DE 117)
                                  10/29 - motion to sell 1336 N Marcy Dr filed, hearing 11/30 @ 11am (DE 119) - granted 12/1 (DE 145)
                                  11/8 - app to employ realtors to sell vacant land located at 2715 Augustine Ct filed (DE 130) - granted 11/10 (DE 131)
                                  11/17 - app to employ BKG to sell 1030 Alice Dr filed (DE 134) & granted (DE 135)
                                  11/19 - Judgment Lien J21000594865 filed against RSD Advisory
                                  11/19 - Judgment Lien J21000594873 filed against Andres Guerra
                                  11/29 - objection to claims 25, 26, 28, 31, 32, 37 & 38 filed, obj date up 12/29/21 (DE 137 - 143) - granted on 28, 31, 37 & 38. 25,26 &32 set for trial
                                  4/13/22 @ 10am
                                  12/7 - RSD Judgment Lien recorded in Miami-Dade Co Book 32887 Page 2946 (ato doc # 1495)
                                  12/10 - report of sale re: 1336 N Marcy filed (DE 148)
                                  12/15 - offer of $152,500 accepted on 1160 Edgewood Dr E and sent to creditor for approval ($7,500 to estate)
                                  12/21 - AP complaint 363(h) to sell 920 Marquette filed 6:21-ap-165 - summons served 12/23, resp due 1/28/22
                                  12/22 - motion for turnover of past due rent of $12,000 filed against Sandra Martinez, obj date up 1/21/22 (DE 152) - granted 1/24 (DE 183)
                                  1/4/22 - motion to sell 3424 Royal Court filed (DE 160) - hearing 1/19/22 @ 11am - granted 1/20/22 (DE 174) - closing set for 2/4/22
                                  1/13 - offer of $175,000 accepted on 1167 Hampton, sent to lender for approval ($7,500 to estate)
                                  1/14 - motion to sell vacant lot 2715 Augustine filed (DE 171) hearing 2/15/22 @ 11am
                                  1/24 - motion to sell 920 Marquette filed (DE 182) hearing 2/15 @ 11am - granted 2/17/22 (DE 195)
                                  1/27 - offer of $165,800 accepted on 905 Longview, sent to lender for approval ($7,500 to estate) - buyer cxl after inspection due to amount of work
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                                                                             Form 1
                                                                                                                                                                                 Page: 1-5
                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case No.:    6:21-bk-02101-LVV                                                                                           Trustee Name:     (291030) Richard B. Webber II
Case Name:     AAA Real Estate Investment Services LLC                                                                   Date Filed (f) or Converted (c): 07/21/2021 (c)
                                                                                                                         § 341(a) Meeting Date:   09/02/2021
For Period Ending:     03/31/2022                                                                                        Claims Bar Date: 09/30/2021

                                    needed on home
                                    1/27 - offer of $135,000 accepted on 1201 Oakhill, sent to lender for approval ($7,500 to estate)
                                    1/28 - offer of $195,000 accepted on 1030 Alice Dr, sent to lender for approval ($17,250 to estate) - accepted, MTS filed (DE 197), hearing 3/10 @
                                    11am - to close by 4/4/22 - granted 3/11 (DE 218)
                                    2/8 - report of sale on 3424 Royal Ct N filed (DE 191)
                                    2/17 - offer of $166,800 accepted on 905 Longview, to lender for approval ($7,500 to estate)
                                    2/18 - lender rejected offer on 1160 Edgewood, filed abandonment (DE 198)
                                    2/24 - proceeds rec'd & report of sale filed re: 2715 Augustine (DE 201)
                                    2/24 - motion to sell 2450 New Jersey filed, hearing 3/10 @ 11am (DE 204) - granted 3/11 (DE 216) - closed 3/21/22
                                    2/25 - 920 Marquette closing complete, funds being held in escrow per order # 198, report of sale filed (DE 208)
                                    3/7 - notice of abandonment filed on 1019 Alice Dr - squatters trashed the house, unable to sell (DE 212)
                                    3/8 - motion to approve compromise with Veka re: 6:21-ap-165 filed (DE 213)
                                    3/23 - report of sale on 2450 New Jersey filed (DE 221)
                                    3/23 - MRS filed on 1201 Oakhill St (DE 222) - resp filed 4/12 (DE 234)
                                    3/23 - Claim 2 withdrawn
                                    4/5 - sale proceeds from 1030 Alice Dr rec'd, report of sale filed (DE 225)
                                    4/12 - motion to approve compromises w/Inspace & Ausum on obj to claims 26 & 25 filed, obj date up 5/3 (DE 235 & 236)

      Initial Projected Date Of Final Report (TFR):           12/30/2022                                 Current Projected Date Of Final Report (TFR):              12/30/2022


             04/18/2022                                                                                   /s/Richard B. Webber II

                Date                                                                                      Richard B. Webber II
                                                              Case 6:21-bk-02101-LVV                  Doc 242              Filed 04/18/22           Page 6 of 12

                                                                                     Form 2
                                                                                                                                                                                                          Page: 2-1
                                                                     Cash Receipts And Disbursements Record
Case No.:                       6:21-bk-02101-LVV                                                                 Trustee Name:                      Richard B. Webber II (291030)
Case Name:                      AAA Real Estate Investment Services LLC                                           Bank Name:                         Metropolitan Commercial Bank
Taxpayer ID #:                  **-***9840                                                                        Account #:                         ******0130 Checking
For Period Ending:              03/31/2022                                                                        Blanket Bond (per case limit):     $33,348,000.00
                                                                                                                  Separate Bond (if applicable):     N/A

    1            2                                   3                                                            4                                               5                      6                      7

  Trans.    Check or                      Paid To / Received From                           Description of Transaction                        Uniform          Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                                                                          Tran. Code          $                        $

 08/16/21     {8}        Axos Bank                                        Turnover of DIP Bank Account                                       1290-010                  3,967.03                                      3,967.03
 08/31/21                Metropolitan Commercial Bank                     Bank and Technology Services Fees                                  2600-000                                           5.00                 3,962.03
 09/09/21     {23}       Catina Titmore (Thomas)                          Rent for 1167 Hampton Rd (Sept. 2021)                              1222-000                  1,500.00                                      5,462.03
 09/09/21     {24}       Zaida Munoz                                      Rent for 3424 Royal Ct N (Sept. 2021)                              1222-000                  1,000.00                                      6,462.03
 09/09/21     {24}       Zaida Munoz                                      Rent for 3424 Royal Ct N (Sept. 2021)                              1222-000                    500.00                                      6,962.03
 09/22/21     {25}       Adner Rodriguez                                  Rent for 905 Longview Ave. (Sept. 2021)                            1222-000                  1,000.00                                      7,962.03
 09/22/21     {25}       Adner Rodriguez                                  Rent for 905 Longview Ave. (Sept. 2021)                            1222-000                    200.00                                      8,162.03
 09/22/21     501        Bank of America                                  Case # D091021000258 Invoice for Subpoena                          2990-000                                          28.00                 8,134.03
 09/30/21                Metropolitan Commercial Bank                     Bank and Technology Services Fees                                  2600-000                                          10.22                 8,123.81
 10/07/21     {23}       Catina L Titmore (Thomas)                        Oct. 2021 Rent for 1167 Hampton                                    1222-000                  1,500.00                                      9,623.81
 10/18/21     {24}       Zaida Munoz                                      October 2021 Rent                                                  1222-000                  1,000.00                                     10,623.81
 10/18/21     {24}       Zaida Munoz                                      October 2021 Rent                                                  1222-000                    500.00                                     11,123.81
 10/29/21                Metropolitan Commercial Bank                     Bank and Technology Services Fees                                  2600-000                                          15.25                11,108.56
 11/09/21     {23}       Catina Titmore                                   Rent for 1167 Hampton from Catina "Thomas" Titmore                 1222-000                  1,500.00                                     12,608.56
 11/15/21     {23}       Catina Titmore Thomas                            Stop Payment issued on Check by Ms. Thomas                         1222-000                 -1,500.00                                     11,108.56
 11/18/21     502        William Paul Henderson II PA                     Roof Vent Screening 1336 N Marcy Drive                             2420-000                                         350.00                10,758.56
 11/24/21     503        Realtime Reporters, Inc                          341 Transcript Invoice # 10722                                     2990-000                                         112.00                10,646.56
 11/24/21     504        Bank of America                                  Ref. # D091021000525 Subpoena Costs                                2990-000                                          20.00                10,626.56
 11/30/21                Metropolitan Commercial Bank                     Bank and Technology Services Fees                                  2600-000                                          19.47                10,607.09
 12/02/21     505        Wm. Paul Henderson                               Cleaning of 1336 N Marcy Dr (prep for selling)                     2420-000                                         200.00                10,407.09
 12/08/21                Innovative Title Services LLC                    Sale Proceeds from 1336 N Marcy per doc # 145 filed 12/1/21                                 43,088.59                                     53,495.68
              {19}       Gowri & Bangera                                  Sale of Real Property                                              1110-000
                                                                                                                               $360,000.00
              {28}                                                        Taxes & Assessments                                                1290-000
                                                                                                                                  $465.27
                         Shellpoint Mortgage                              1st Mortgage                                                       4110-000
                                                                                                                            -$289,860.59


                                                                                                                                       Page Subtotals:            $54,255.62                 $759.94


{ } Asset Reference(s)                                                                                                                                                            ! - transaction has not been cleared
                                                                Case 6:21-bk-02101-LVV                 Doc 242            Filed 04/18/22           Page 7 of 12

                                                                                       Form 2
                                                                                                                                                                                                         Page: 2-2
                                                                       Cash Receipts And Disbursements Record
Case No.:                        6:21-bk-02101-LVV                                                               Trustee Name:                      Richard B. Webber II (291030)
Case Name:                       AAA Real Estate Investment Services LLC                                         Bank Name:                         Metropolitan Commercial Bank
Taxpayer ID #:                   **-***9840                                                                      Account #:                         ******0130 Checking
For Period Ending:               03/31/2022                                                                      Blanket Bond (per case limit):     $33,348,000.00
                                                                                                                 Separate Bond (if applicable):     N/A

    1            2                                    3                                                              4                                           5                      6                      7

  Trans.    Check or                        Paid To / Received From                          Description of Transaction                      Uniform          Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                                                                         Tran. Code          $                        $

                         Innovative Title                                  Owners Title Insurance                                           2500-000
                                                                                                                               -$1,875.00
                         Innovative Title                                  Closing Fee                                                      2500-000
                                                                                                                                -$595.00
                         Old Republic                                      Title Search                                                     2500-000
                                                                                                                                  -$85.00
                         Keller Williams Winter Park                       Real Estate Commission                                           3510-000
                                                                                                                              -$10,800.00
                         Dalton Wade Inc                                   Real Estate Commission                                           3510-000
                                                                                                                              -$10,800.00
                         Keller Williams                                   Transaction Fee                                                  3520-000
                                                                                                                                -$299.00
                         Seminole Co Clerk                                 Release of NOC                                                   2500-000
                                                                                                                                  -$18.50
                         Seminole Co Clerk                                 City/County Tax Stamp                                            2500-000
                                                                                                                               -$2,520.00
                         Seminole Co Clerk                                 eRecording                                                       2500-000
                                                                                                                                   -$4.50
                         TFG Property Search                               Municipal Lien search                                            2500-000
                                                                                                                                  -$85.00
                         Bay Lagoon                                        Estoppel Fee                                                     2500-000
                                                                                                                                  -$50.00
                         Bay Lagoon HOA                                    HOA Balance                                                      4110-000
                                                                                                                                -$384.09
 12/22/21     {29}       Heart for Winter Haven                            Rent for 1201 Oakhill St / Melissa Chandler                      1222-000                  7,563.09                                     61,058.77
 12/31/21                Metropolitan Commercial Bank                      Bank and Technology Services Fees                                2600-000                                          74.14                60,984.63
 01/13/22     506        Lyn Henderson                                     Door repair at 1201 Oakhill St Property                          2420-000                                         100.00                60,884.63
 01/31/22                Metropolitan Commercial Bank                      Bank and Technology Services Fees                                2600-000                                          94.48                60,790.15
                                                                                                                                      Page Subtotals:                $7,563.09              $268.62


{ } Asset Reference(s)                                                                                                                                                           ! - transaction has not been cleared
                                                            Case 6:21-bk-02101-LVV                       Doc 242             Filed 04/18/22          Page 8 of 12

                                                                                     Form 2
                                                                                                                                                                                                           Page: 2-3
                                                                     Cash Receipts And Disbursements Record
Case No.:                        6:21-bk-02101-LVV                                                                 Trustee Name:                      Richard B. Webber II (291030)
Case Name:                       AAA Real Estate Investment Services LLC                                           Bank Name:                         Metropolitan Commercial Bank
Taxpayer ID #:                   **-***9840                                                                        Account #:                         ******0130 Checking
For Period Ending:               03/31/2022                                                                        Blanket Bond (per case limit):     $33,348,000.00
                                                                                                                   Separate Bond (if applicable):     N/A

    1            2                                  3                                                               4                                              5                      6                      7

  Trans.    Check or                    Paid To / Received From                                 Description of Transaction                     Uniform          Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                                                                           Tran. Code          $                        $

 02/07/22                Innovative Title Services LLC                     Sale of 3424 Royal Ct N per doc # 174 filed 1/20/22                                         61,784.72                                 122,574.87
              {17}                                                         Sale of real property                                              1110-000
                                                                                                                                $275,000.00
              {30}                                                         City/Town Taxes 2/4/22 to 9/3022 credit                            1290-000
                                                                                                                                   $293.68
                         Shellpoint Mortgage                               First Mortgage                                                     4110-000
                                                                                                                              -$192,409.04
                                                                           County Taxes 1/1/22 to 2/4/22                                      2820-000
                                                                                                                                   -$245.92
                         Innovative Title Service                          Owner's Title Insurance                                            2500-000
                                                                                                                                 -$1,450.00
                         Innovative Title Service                          Closing Fee                                                        2500-000
                                                                                                                                   -$595.00
                         Westcor                                           Title Search                                                       2500-000
                                                                                                                                    -$85.00
                         Keller Williams Winter Park                       Real Estate Commission                                             3510-000
                                                                                                                                 -$8,250.00
                         Lakeland Hometown Properties                      Real Estate Commission                                             3510-000
                                                                                                                                 -$8,250.00
                         Keller Williams Winter Park                       Transaction Fee (realtor expense)                                  3520-000
                                                                                                                                   -$299.00
                         Polk County Clerk of Courts                       City/County Tax/Stamps                                             2500-000
                                                                                                                                 -$1,925.00
 02/23/22                Innovative Title Services LLC                     Proceeds from sale of 2715 Augustine per doc # 196 filed                                    12,105.32                                 134,680.19
                                                                           2/17/22
              {27}                                                         Sale of vacant lot                                                 1210-000
                                                                                                                                 $15,000.00



                                                                                                                                        Page Subtotals:            $73,890.04                   $0.00


{ } Asset Reference(s)                                                                                                                                                             ! - transaction has not been cleared
                                                            Case 6:21-bk-02101-LVV                    Doc 242             Filed 04/18/22         Page 9 of 12

                                                                                     Form 2
                                                                                                                                                                                                      Page: 2-4
                                                                     Cash Receipts And Disbursements Record
Case No.:                        6:21-bk-02101-LVV                                                              Trustee Name:                     Richard B. Webber II (291030)
Case Name:                       AAA Real Estate Investment Services LLC                                        Bank Name:                        Metropolitan Commercial Bank
Taxpayer ID #:                   **-***9840                                                                     Account #:                        ******0130 Checking
For Period Ending:               03/31/2022                                                                     Blanket Bond (per case limit):    $33,348,000.00
                                                                                                                Separate Bond (if applicable):    N/A

    1            2                                   3                                                           4                                             5                     6                      7

  Trans.    Check or                    Paid To / Received From                              Description of Transaction                    Uniform          Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                                                                       Tran. Code          $                       $

              {31}                                                         City/Town Taxes 2/23/22 to 9/30/22                             1290-000
                                                                                                                                $48.60
              {32}                                                         County Taxes 2/23/22 to 12/31/22                               1290-000
                                                                                                                               $133.27
                                                                           County Taxes 1/1/22 to 2/23/22                                 2820-000
                                                                                                                                -$11.14
                         Innovative Title Services                         Owner's Title Insurance                                        2500-000
                                                                                                                              -$100.00
                         Innovative Title Services                         Closing Fee                                                    2500-000
                                                                                                                              -$595.00
                         Westcor                                           Title Search                                                   2500-000
                                                                                                                                -$85.00
                         Keller Williams Winter Park                       Real Estate Commission                                         3510-000
                                                                                                                             -$1,050.00
                         Hughes Homes Realty                               Real Estate Commission                                         3510-000
                                                                                                                              -$450.00
                         Keller Williams Winter Park                       Transaction Fee                                                3520-000
                                                                                                                              -$299.00
                         Volusia County Clerk                              Recording of Court Order                                       2500-000
                                                                                                                                -$35.50
                         Volusia County Clerk                              City/County Tax Stamps                                         2500-000
                                                                                                                              -$105.00
                         TFG Property Reports                              Municipal Lien Search                                          2500-000
                                                                                                                              -$190.00
                         Volusia County Tax Collector                      2021 Property Taxes                                            4700-000
                                                                                                                              -$155.91
 02/28/22                Metropolitan Commercial Bank                      Bank and Technology Services Fees                              2600-000                                        155.60            134,524.59


                                                                                                                                    Page Subtotals:                   $0.00              $155.60


{ } Asset Reference(s)                                                                                                                                                        ! - transaction has not been cleared
                                                            Case 6:21-bk-02101-LVV                      Doc 242              Filed 04/18/22          Page 10 of 12

                                                                                     Form 2
                                                                                                                                                                                                           Page: 2-5
                                                                     Cash Receipts And Disbursements Record
Case No.:                        6:21-bk-02101-LVV                                                                 Trustee Name:                      Richard B. Webber II (291030)
Case Name:                       AAA Real Estate Investment Services LLC                                           Bank Name:                         Metropolitan Commercial Bank
Taxpayer ID #:                   **-***9840                                                                        Account #:                         ******0130 Checking
For Period Ending:               03/31/2022                                                                        Blanket Bond (per case limit):     $33,348,000.00
                                                                                                                   Separate Bond (if applicable):     N/A

    1            2                                  3                                                               4                                              5                      6                      7

  Trans.    Check or                     Paid To / Received From                                Description of Transaction                     Uniform          Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                                                                           Tran. Code          $                        $

 03/22/22                Innovative Title Services LLC                     Sale proceeds for 2450 New Jersey Rd per doc # 216 filed                                    18,157.00                                 152,681.59
                                                                           3/11/22
              {16}                                                         sale of real property                                              1110-000
                                                                                                                                $274,000.00
              {33}                                                         buyers premium                                                     1110-000
                                                                                                                                  $7,500.00
                         Fay Servicing                                     First Mortgage                                                     4110-000
                                                                                                                               -$241,000.00
                                                                           County Taxes 1/1/2022 - 3/21/22                                    2820-000
                                                                                                                                 -$1,002.25
                         Innovative Title Service                          Owner's Title Ins.                                                 2500-000
                                                                                                                                 -$1,445.00
                         Innovative Title Service                          Closing Fee                                                        2500-000
                                                                                                                                   -$820.50
                         Old Republic                                      Title Search                                                       2500-000
                                                                                                                                    -$85.00
                         Keller Williams Winter Park                       Real Estate Commission                                             3510-000
                                                                                                                                -$10,960.00
                         Investors Real Estate                             Real Estate Commission                                             3510-000
                                                                                                                                 -$5,480.00
                         Polk County Clerk of Courts                       Motion to Sell Order                                               2500-000
                                                                                                                                   -$100.00
                         Polk County Clerk of Courts                       County Tax Stamps                                                  2500-000
                                                                                                                                 -$1,918.00
                         Polk County Clerk of Courts                       eRecording Fee                                                     2500-000
                                                                                                                                     -$4.50
                         TFG Property Reports                              Municipal Lien Search                                              2500-000
                                                                                                                                   -$132.75

                                                                                                                                        Page Subtotals:            $18,157.00                   $0.00


{ } Asset Reference(s)                                                                                                                                                             ! - transaction has not been cleared
                                                          Case 6:21-bk-02101-LVV                   Doc 242              Filed 04/18/22         Page 11 of 12

                                                                                    Form 2
                                                                                                                                                                                                      Page: 2-6
                                                                    Cash Receipts And Disbursements Record
Case No.:                       6:21-bk-02101-LVV                                                             Trustee Name:                     Richard B. Webber II (291030)
Case Name:                      AAA Real Estate Investment Services LLC                                       Bank Name:                        Metropolitan Commercial Bank
Taxpayer ID #:                  **-***9840                                                                    Account #:                        ******0130 Checking
For Period Ending:              03/31/2022                                                                    Blanket Bond (per case limit):    $33,348,000.00
                                                                                                              Separate Bond (if applicable):    N/A

    1            2                                 3                                                           4                                             5                      6                      7

  Trans.    Check or                   Paid To / Received From                             Description of Transaction                    Uniform          Deposit              Disbursement          Account Balance
   Date      Ref. #                                                                                                                     Tran. Code          $                        $

                         Polk County Clerk of Courts                      Closing Coordination                                          2500-000
                                                                                                                             -$395.00
 03/31/22                Metropolitan Commercial Bank                     Bank and Technology Services Fees                             2600-000                                          245.91            152,435.68

                                                                            COLUMN TOTALS                                                                     153,865.75                 1,430.07          $152,435.68
                                                                                    Less: Bank Transfers/CDs                                                          0.00                    0.00
                                                                            Subtotal                                                                          153,865.75                 1,430.07
                                                                                    Less: Payments to Debtors                                                                                 0.00

                                                                            NET Receipts / Disbursements                                                     $153,865.75                $1,430.07




{ } Asset Reference(s)                                                                                                                                                       ! - transaction has not been cleared
                                                        Case 6:21-bk-02101-LVV     Doc 242     Filed 04/18/22         Page 12 of 12

                                                                             Form 2
                                                                                                                                                              Page: 2-7
                                                             Cash Receipts And Disbursements Record
Case No.:                  6:21-bk-02101-LVV                                              Trustee Name:                 Richard B. Webber II (291030)
Case Name:                 AAA Real Estate Investment Services LLC                        Bank Name:                    Metropolitan Commercial Bank
Taxpayer ID #:             **-***9840                                                     Account #:                    ******0130 Checking
For Period Ending:         03/31/2022                                                     Blanket Bond (per case limit): $33,348,000.00
                                                                                          Separate Bond (if applicable): N/A


                                        Net Receipts:                $153,865.75
                           Plus Gross Adjustments:                   $797,305.19
                         Less Payments to Debtor:                          $0.00
                 Less Other Noncompensable Items:                          $0.00

                                          Net Estate:                $951,170.94




                                                                       TOTAL - ALL ACCOUNTS                   NET DEPOSITS      NET DISBURSEMENTS ACCOUNT BALANCES
                                                                       ******0130 Checking                          $153,865.75             $1,430.07     $152,435.68

                                                                                                                      $153,865.75                 $1,430.07    $152,435.68
